 AO 91 (Rev. 02109) Criminal Complaint




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                                                                for the
                                                     'Westerr District
                                                                       of New         Y

                           United States of America

                                            v.                                                   case No. re-Mr-         4orx
                     PATRICK W. CARLINEO, JR.,
                                         Defendant




                                                       CRIMINAL COMPLAINT


          I, the complainant in this       case, state that the   following is true to the best of my knowledge and belief.

        On or about March 29,2019, in the County of Steuben, in the Western District of New York, the defendant
violated Title 1& United States Code, Section 115(aX1(B), said offenses described as follows:


the defendant, did threaten to assault and murder a United States official with intent to impede, intimidate and
interfere with such United States official while engaged in the performance of official duties and with intent to retaliate
against such United States official on account of the performance of official duties, in that he threatened to kill United
States Congresswoman Ilhan Omar while she was engaged in the performance of her official duties, in violation of
18 u.S.C. $ 115(aX1)(B).



         This Criminal Complaint is based on these facts:                                  --/-a
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                                                                                   .,/           /
         A    Continued on the attachedsheet.


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                                                                                         SEN, JR.
                                                                           SPECIAL AGENT
                                                                           FEDERAL BUREAU OF INVESTIGATION
                                                                                           Printed name and title

Sworn to before me and signed in my presence.

Date:Aoril      4 .2olg                                                        m*i^61^ar'--
                                                                                                         Judge's signature


                                                                           HONORABLE MARIAN W. PAYSON
City and State: Rochester. New York                                        I.INITED STATES MAGISTRATE ruDGE
                                                                        Printed name and title
                        Arrmavrr IN Supponr Or Cnnm.qan Cowr,amr
State of New York )
County of Monroe )              ss:
City of Rochester )                                                               /   0-rn9*4ttl-
        KENNETH A. JENSEN, JR., being duly sworn, deposes and says:


                                         IxtnopucrroN
        1.        I am a Special Agent (SA) of the Federal Bureau of Investigation (FBt), United

States Deparffnent of Justice, Buffalo, New York. As a Special Agent of the FBI,              I am an
investigative or law enforcement officer       of the United     States, empowered       to   perform

investigations and make arrests related to violations of federal law. I have been employed as

a Special Agent with the FBI since March of 2002 and am currently assigned to the Coming,

New York, Resident Agenry.


       2.         The statements contained in this affidavit are based upon my personal

knowledge and observations, information provided to me by other law enforcement officers,

information provided to me by witnesses with personal knowledge of events, my review of

tecords, and my investigation and experience and training as a Special Agent with the FBI.

Because this affidavit is being submitted      for the limited purpose of securing a criminal
complaint, I have not included each and every fact known to me conceming this investigation.


       3.         This affidavit is made in support of a criminal complaint charging PATRICK

W. CARLINEO, JR., with and threatening         a United States   official, in violation of   18   U.S.C.

$ 11s(a)(1)(B).
                                        Pnonlnrp Causs
        4.      On March 21, 2019,at approximately l2:20p.ffi., a telephone call was received

by a staffmember for United States Congresswoman Ilhan Omar, a representative from the

5tr Congressional District in Minnesota, at Congresswoman Omar's offices in Washington,

D.C. During the telephone call, an individual who eventually identified himself as PAT

CARLINEO stated to the staffmember, "Do you work for the Muslim Brotherhood? Why

are you working for her, she's a fucking terrorist. I'11 put a bullet       in her fucking skull."
CARLINEO sounded anry, but spelled his name and provided contact information. The call

was placed from telephone number (607) 684-5330, which is a cellular telephone serviced by

AT&T. Telephone records from AT&T show that this telephone number is listed to Lisa M.

Caslin, 6480 CountyRoute 21, Addison, NewYork. Historicalprecisionlocationinformation

from AT&T shows that the telephone was physically located in the Western District of New

York at the time CARLINEO placed the above-described call.


       5.      After receiving the threatening telephone calT from                   CARLINEO,

Congresswoman Omar's staffreferred the tfueat to the United States Capitol Police, Threat

Assessment Section, who began an investigation in coordination with the FBI.


       6.      OnMarch 29,2019,I interviewed CARLINEO athis residence at6480 County

Route 21, Addison, New York. CARLINEO stated ttrat he knew why the FBI wanted to

speak to him. Initially, he stated that it was because he said "if our forefathers were still alive,

they'd put a bullet in her head." He further stated that he was referringto atelephone call that

he made to Congresswoman Omar's office using the cellular telephone number (607) 684-

5330. CARLINEO stated that he was a patriot, that he loves the President, and that he hates
rudicalMuslims in our govemment. CARLINEO was shown an e-mail which contained the

text of the quote, "Do you work for the Muslim Brotherhood? Why are you working for her,

she's a fucking terrorist. I'11put a bullet in her fucking skull." CARLINEO was asked to read

the quote aloud, which he did. He then stated that the quote is not what he said, but repeated

his original version of events. CARLINEO stated that Congresswoman Omar supported

Hamas and the Muslim Brotherhood, and that her election to Congress was illegitimate.


       7.     FBI Special Agent Christina Peklak-Scott, who was also present for               the

interview, then admonished CARLINEO that it was a separate crime to lie to an FBI agent,

and asked what investigators would hear when we listened to the recording of his telephone

conversation with Congresswoman Omar's staff member. CARLINEO responded that he

would be honest, and that he was arrry, and could not remember exactly what he said.

CARLINEO went on to        say that he may have said something   like the quote that he read,but

he was not sure.   CARLINEO was asked if there were any weapons in the residence. He stated

that there are a shotgun and a .22 calber firearm in the house. He initially stated that the

weapons belonged to his girlfriend, but later in the interview stated that the guns belonged to

him.


       8.     A Member of Congress is a United       States official   within the meaning of   18

U.S.C. $ 1ls(cXa).

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       9.     Based on the foregoing, there is probable cause to believe that PATRICK W.

CARLINEO, JR., did threaten to assault andmurder a United States official with intent to

impede, intimidate and interfere with such United States official while engaged         in   the
performance of official duties and with intent to retaliate against such United States official

on account of the performance of official duties, in that he threatened to kill United States

Congresswoman Ilhan Omar while she was engagedin the performance ofher official duties,

in violation of 18 U.S.C. g 115(aX1XB).

       Dated: Rochester, New York
              April , zOtS   'f




      Subscribed and sworn to before me
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              day of Aprtl,2}lg.
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      HON. MARIAN W. PAYSON
      United States Magisffate Judge
      Western District of New York




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